Case 4:22-cr-00289-SDJ-KPJ Document 8 Filed 01/23/23 Page 1 of 5 PageID #: 13


                                                                                 FILED
                        United States District Court
                              EASTERN DISTRICT OF TEXAS
                                                                                   JAN 2 3 2023
                                   SHERMAN DIVISION
                                                                             CLERK, U.S. DISTRICT COURT
UNITED STATES OF AMERICA                       §                             EASTERN DIST ICT OF TEXAS
                                               §
                                               § CASE NUMBER 4:22CR289
v.                                             §
                                               §
                                               §
                                               §
GUY WESLEY REFFITT (1)                         §

                               SCHEDULING ORDER

      It is ORDERED:

                   I. PRETRIAL DISCOVERY AND INSPECTION

      A. Within five (5) days after the arraignment, or date of receipt of this order by

the Defendant, whichever occurs first, the United States Attorney or Assistant United

States Attorney prosecuting the case (hereinafter collectively "United States Attorney")

and the Defendant's attorney shall confer; whereupon, the United States of America

(hereinafter "the Government") shall:

      (1) Permit Defendant's attorney to inspect and copy or photograph any relevant
             written or recorded statements or confessions made by the Defendant, or
             copies thereof, within the possession, custody or control of the Government,
             the existence of which is known, or by the exercise of due diligence may
             become known, to the attorney for the Government;


      (2) Permit Defendant's attorney to inspect and copy or photograph that portion
             of any written record containing the substance of any relevant oral statement
             made by the Defendant whether before or after arrest in response to
             interrogation by any person then known to the Defendant to be a Government
             agent;




                                        Page 1 of 5
Case 4:22-cr-00289-SDJ-KPJ Document 8 Filed 01/23/23 Page 2 of 5 PageID #: 14




      (3) Permit Defendant's attorney to inspect and copy or photograph any recorded
             testimony of the Defendant before a grand jury which relates to the offense
             charged;

      (4) Disclose to Defendant's attorney the substance of any other relevant oral
             statement made by the Defendant whether before or after arrest in response
             to interrogation by any person then known by the Defendant to be a
             Government agent if the Government intends to use that statement at trial;

      (5) Disclose to the Defendant any copy of the Defendant's prior criminal record,
             if any, as is within the possession, custody, or control of the Government, the
             existence of which is known, or by the exercise of due diligence may become
             known, to the attorney for the Government, including the Federal Bureau of
             Investigation Identification Sheet;

      (6) Permit Defendant's attorney to inspect and copy or photograph books, papers,
             documents, photographs, tangible objects, buildings or places, or copies or
             portions thereof, which are within the possession, custody or control of the
             Government, and which are material to the preparation of the Defendant's
             defense or are intended for use by the Government as evidence in chief at the
             trial, or were obtained from or belong to the Defendant;

      (7) Permit Defendant's attorney to inspect and copy or photograph any relevant
             results or reports of physical or mental examinations, and of scientific tests
             or experiments made in connections with the case, or copies thereof, within
            the possession, custody or control of the Government, the existence of which
             is known, or by the exercise of due diligence may become known to the
             attorney for the Government, and which are material to the preparation of the
             defense or are intended for use by the Government as evidence in chief at the
             trial;

      (8) Permit Defendant's attorney to inspect, copy or photograph any evidence
            within the ambit of Brady v. Maryland (evidence which might tend to
            exculpate Defendant, mitigate punishment, or impeach testimony which may
            be determinative of Defendant's guilt or innocence);

      (9) Disclose to Defendant's attorney evidence of the Defendant's other crimes,
             wrongs, or acts which although inadmissible to prove the Defendant's bad
             character - the Government believes to be admissible for other purposes,
             such as proof of motive, opportunity, intent, preparation, plan, knowledge,
             identity or absence of mistake or accident, concerning the instant charge; and




                                       Page 2 of 5
Case 4:22-cr-00289-SDJ-KPJ Document 8 Filed 01/23/23 Page 3 of 5 PageID #: 15




       (10) Disclose to Defendant's atto ey a written summary of testimony the
             Government intends to use under Rules 702, 703, or 705 of the Federal Rules
             of Evidence, during its case in chief at trial, including witness opinions, bases
              and reasons therefor, and the witnesses' qualifications.



       B. If, in the judgment of the United States Attorney, it would not be in the

interests of justice to make any one or more disclosures set forth in paragraph "A" and

requested by Defendant's counsel, the declination shall be in writing, directed to

Defendant's counsel, and signed personally by the United States Attorney, specifying the

types of disclosures that are declined. If the Defendant seeks to challenge the declination,

Defendant shall proceed pursuant to paragraph "C" below.

       C. If additional discovery or inspection is sought, Defendant's attorney shall

confer with the appropriate United States Attorney within ten (10) days of the arraignment,

or date of receipt of this Order by the Defendant, whichever occurs first, with a view to

satisfying these requests in a cooperative atmosphere without recourse to the Court. The

request may be oral or written and the United States Attorney shall respond in a like

manner.

       D. In the event Defendant thereafter moves for additional discovery or

inspection, Defendant's motion shall be filed within twenty (20) days after the arraignment,

or date of receipt of this order by the Defendant, whichever occurs first. It shall contain:



       (1) the statement that the prescribed conference was held;
       (2) the date of said conference;
       (3) the name of the United States Attorney with whom conference was held; and
       (4) the statement that agreement could not be reached concerning the discovery
              or inspection that is the subject of Defendant's motion.



       The court cautions counsel that filing unnecessary motions may result in imposition

of sanctions. Counsel are to present by motion only genuine issues actually in dispute

which counsel are unable to resolve in conference.




                                         Page 3 of 5
Case 4:22-cr-00289-SDJ-KPJ Document 8 Filed 01/23/23 Page 4 of 5 PageID #: 16




                 E. Upon Government's compliance with the provisions of paragraph "A" of this

Order, the Defendant shall permit the Government to inspect and copy or photograph:



                 (1) Books, papers, documents, photographs, tangible objects, or copies or
                       portions thereof, which are within the possession, custody, or control of the
                       Defendant and which the Defendant intends to introduce as evidence in chief
                       at the trial; and

                 (2) Any results or reports of physical or mental examinations and of scientific
                       tests or experiments made in connection with the particular case, or copies
                       thereof, within the possession or control of the Defendant, which the
                       Defendant intends to introduce as evidence in chief at the trial or which were
                       prepared by a witness whom the Defendant intends to call at the trial when
                                  the results or reports relate to that witness' testimony.



                 F. Any duty of disclosure and discovery set forth in this Order is a continuing

one.

                 G. Any disclosure granted by the Government pursuant to this Order of

material within the purview of FED.R.CRlM.P. 16( )(2) and 16(b) and FED.R.EVID. 404(b)

shall be considered as information requested by the Defendant and granted by the court.



                                             II. OTHER DEFENSES, OBJECTIONS AND REQUESTS
                Pursuant to Fed. R. CRIM. P. 12(c), the Court requires that any defense, objection or

request capable of determination without trial of the general issue1 be raised by written

motion in the form required by FED. R. CRIM. P. 47. Any such motion shall be filed within

30 days from date of this order, and the Government shall respond within 10 days after

being served, unless the Court by separate order (e.g., an Order Setting Final Pre-Trial

and Trial or similar order) establishes an explicit deadline for filing and responding to a

particular type of motion. When specific deadlines established by separate court order



                    These matters include all matters listed in RULES 12(b), 12.1,12.2,12.3,14,15 nd 16, FED. R. CRIM. P., and include, without limitation, (1) defects in institution of prosecution; (2) defects in
indictmen or information; (3) su pression of evidence; (4) alibi; (5) ins nity or mental condition; (6) efense based on public authority; (7) discovery; (8) depositions; (9) selective or vindictive prosecution; (10)
outrageous Government l misconduct; (11) misjoinder; (12) pre-indictment delay; (13) speedy tri l; (14) prejudicial publicity; (15) lack of ersonal jurisdiction; (16) Posse Comitatus Act, 18U.S.C. 1385; (17)
rec ntation as a defense to perjury; (18) limitations; (19) double jeopardy; (20) multiple sentencing; and (21) immunity. If Federal Rules ofCrim inal Procedure, a fe eral statute, or other order of the court
e ablishes an e rlier dea line than established in hi order, the earlier deadline shall govern he part e .


                                                                                                Page 4 of 5
Case 4:22-cr-00289-SDJ-KPJ Document 8 Filed 01/23/23 Page 5 of 5 PageID #: 17



conflict with general deadlines stated above, the separate order shall prevail and govern the

parties.

                                   III. COMPLIANCE
       Failure to provide discovery and observe deadlines established in this order may

result in imposition of sanctions. Failure to raise defenses or objections, or to make

requests in accordance with Sections I and II shall constitute waiver thereof, but the court

for cause shown may grant relief from the waiver.



       Signed this 23rd day of J nuary, 2023/ , - - ' !




                                   CHRISTINE A. NOWAK
                                   UNITED STATES MAGISTRATE JUDGE




                                        Page 5 of 5
